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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


MATTHEW KOERNER,                                  Case No. 1:20-CV-0522

       Plaintiff,                                 Hon. Franklin U. Valderrama

v.                                                Hon. Maria Valdez

EXPERIAN INFORMATION SOLUTIONS,
INC., et al,

       Defendants.




                DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
                        MOTION FOR SUMMARY JUDGMENT

       NOW COMES Defendant Experian Information Solutions, Inc. (“Experian”), by and

through its undersigned attorneys, and pursuant to Federal Rule of Civil Procedure 56, and

hereby moves for Summary Judgment.          In support of its Motion, Experian submits its

Memorandum of Law, its Rule 56.1 Statement of Undisputed Material Facts, supporting exhibits

and declaration, all filed contemporaneously herewith, and incorporates the same as if fully set

forth herein.

       WHEREFORE, Defendant Experian Information Solutions, Inc. respectfully requests that

the Court grant the present Motion for Summary Judgment issue an order dismissing Plaintiff’s

Complaint with prejudice.
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Dated: February 1, 2021                 Respectfully submitted,

                                        /s/ Christopher A. Hall

                                        Christopher A. Hall
                                        chall@jonesday.com
                                        JONES DAY
                                        77 West Wacker
                                        Chicago, IL 60601.1692
                                        Telephone:    +1.312.782.3939
                                        Facsimile:    +1.312.782.8585
                                        Counsel for Experian Information Solutions,
                                        Inc.
